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                      EXHIBIT “1”
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  SUPREME COURT STATE OF NEW YORK
  COUNTY OF NEW YORK


  BANCO DEL AUSTRO, S.A.                                    Index#

                        Plaintifl

          -against-

  WELLS FARGO BANK N.A.

                        Defendant.
                                                x

                                     COMPLAINT

     1.. Banco del Austro, S.A. ('BDA"), sues Wells Fargo Bank, N.A. ('WFB-),

          for breaches of contracf.ral, statutory and common law duties related to

          unauthorized debits from BDA's correspondent account maintained at

          WFB, and states:

                             PentIEs, JuRlsuctloN ¡No VnNun

     2. Plaintiff BDA is a foreign bank incorporated and organized          under the

          laws of Ecuador.

     3.   Defendant \MFB is a national banking association organized and existing

          under the laws of the United States, with its head office in San Francisco,

          California, and its registered office in Sioux Falls, South Dakota.

     4.   Pursuant to the agreement between BDA and WFB entitled "Terms and

          Conditions for Global Financiai Institutions" (the "Agreement"), the

          parties agreed that any legal proceeding against WFB may                be
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         coÍunenced in the courts of the Borough of Manhattan, New York City,

         in the State of New York. Agreementl79.

     5. This Court thus has personal jurisdiction over WFB because WFB
         consented to be sued in the courts of the Borough of Manhattan, New

         York City, in the State of New York pursuant to paragraph7.9 of the

         Agreement.

     6. In addition, venue is proper in New York County, New York, because
         \IVFB consented    to the forum selection clause in paragraph 7.9 of the

         Agreement, and BDA designates New York City in the State of New

         York as the venue in this action.

                                             F¡.crs

     Correspondent Account Reløtionship between BDA øndWEB

     7. BDA has no branches in the United        States.


     L   Accordingly, BDA needed a correspondent banking relationship with a

         United States-based bank to conduct international banking operations,

         including funding overseas payments and wiring transfers requested by

         its clients in Ecuador.

     9. As a result, BDA and \AIFB coÍunenced a            correspondent banking

         relationship that led     to the establishment of BDA's   correspondent

         account with ITVFB (hereinafter, the "Correspondent Account").

     10. The correspondent    banking relationship was govffned in part by Wells

         Fargo Bank, N.A.'s Terms and Conditions            for Global Financial

                                             2
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           Institutions, which was executed        in   February 2011 (hereinafter, the

           "Agreement," a true and correct copy of which is attached hereto                as


           Exhibit " A").

     11.   The terms        of the Agreement consisted of BDA agreeing to                pay

           correspondent banking fees to WFB, and WFB agreeing to service BDA's

           Correspondent Account, perform transactions properly authorized by

           BDA, and safeguard the property of BDA's Correspondent Account by

           complying with various laws of the United States and general                   US

           commercial banking practices, including implementing a program for

           fraud detection, and reporting to BDA any unusual or suspicious activity

           impacting BDA's Correspondent Account.

     12. Indeed, WFB assured BDA that not only would the relationship be also

           governed by the laws of the State of New York, including Article 4A of

           the Uniform Commercial Code, but also that WFB would comply with

           ali Laws of the United        States applicable   to it, including the USA
           PATRIOT ACT, and general US commercial banking                          practices.

           Agreement nfll 7.7 and 7.8.

     13. As part and parcel of such commitment, WFB acknowledged that WFB's

           compliance with Laws to which it is subject may        af.f.ect   the transactions

           BDA may conduct with, or through, WFB and may require that BDA

           provide or certify information to WFB about itself or any entity or class

           of entities transacting   payments      or other business through          BDA's


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            Correspondent Account           or through BDA's use of other     services.

            Agreement    11   7.8.


      L4.   On luly   31., 201.4, \AIFB   further boasted to BDA that WFB, through its

            financial crimes risk management program ("Global FCRM Program")

            designed to comply with the various laws of the United Statesl, had

            detective confrols, which included identifying unusual activity;

            automated transaction monitoring; customer surveillance; investigating

            the unusual activities identified, and determining whether they        are

            suspicious; monitoring customer activity, and applying predictive

            analytics for customer-centric, cross-channel fraud detection; screening,

            blocking, and rejecting transactions appropriately; and reporting    these

            matters (along with other regulatory reporting requirements).

     15.    Accordingly, WFB assured BDA that WFB had security policies and

            procedures    in     place necessary to detect and deter suspicious or

            fraudulent activity and to report them to BDA (along with other

            regulatory reporting requirements), which reporting would alert BDA of

            such anomalous activity, and allow BDA to prevent the fraud.

     16. Based on WFB's assurances, BDA reasonably expected to be alerted by

            WFB if \MFB observed or should have observed any suspicious activity,




  1 WFB specifically representedthat, through its Global FCRM Program, it
  managed finøncial crimes risks associated with Bank Secrecy Act ("BSA"),
  Anti-Money Laundering ("AML" ), Externøl Frøud, and other laws.

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            which had the potential to materially impact BDA's Correspondent

            Account.

     1,7.   Indeed, consistent with general US commercial bank practices, like the

            ones represented by WFB, BDA reasonably expected to be alerted by

            WFB    if the Correspondent   Account experienced any unusual activity,

            and to have WFB block any anomalous activity.

     18. Pursuant        to the terms of the Agreement, BDA would generate the wire

            transfers using      the Society for Worldwide Interbank Financial
            Telecommunications ("SWIFT") network, which must be accessed from

            within BDA's computer system.

     L9. The      Agreement further provided that for SWIFT messages/ the SWIFT

            Authentication procedures with the SWIFT User Handbook would            be

            used as the Security Procedure to verify that BDA was the originator of a

            payment order. Agreement T 3.1.

     20.    However, although the SWIFT Authentication procedure would be used

            to verify whether BDA was the originator of a              payment order,

            (Agreement T 3.1),     it could not be used to verify   whether suspicious

            activity originating from BDA's SWIFT terminal was fraudulent (due to

            third-party hacking, as happened in this case) or in fact authorized by

            BDA   (as   both would show as "originating" from BDA).




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         21,.BDA reasonably expected that, based             on WFB's own        material

               representations, such fraud detection would be done by \IVFB using its

               detective controls pursuant to WFB's Global FCRM Program.

         Suspicious Actiztíty in the Account (the Unauthorized Trønsfers)

         22.   On January 21, 2015, BDA reported to \AIFB that unauthorized debits

               from the Correspondent Account were made by WFB, and that those

               unauthorized debits were determined to be fraudulent transactions.

         23.   As a result of the fraudulent transactions, on January 21, 2015, BDA

               issued fraud alerts through SWIFT to WFB for the unauthorized transfers

               which are detailed below (coliectivel/, they shall hereinafter be referred

               to as the "Unauthorized Transfers"):

       Date           Time     Sender      Amount (US$)     Beneficiary   Beneficiary's   City
                                                                          Bank
1.     1./12/2015 7:24         Marina      9986,256.88      Mester        HSBC            Hong
                  Pm           Breeze                       Trading                       Kong
                                                            Corp.

2.     1,/12/2015 7:02         Femar       91.,424,638.06   Regal         HSBC            Hong
                  Pm                                        Prosper                       Kong
                                                            Trading
                                                            Limited

J      1,/13/2015 7:04         Constrin    fiL,236,578.45   Regal         HSBC            Hong
                      pm       dec, S.A.                    Prosper                       Kong
                                                            Trading
                                                            Limited

4.     1,/13/2015     9:'1,6   Econotra    9663,297.31      Regal         HSBC            Hong
                      pm       NS                           Prosper                       Kong
                               Ecuador                      Trading
                                                            Limited



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5       1,/13/201,5    10:38    Econotra         996,325.23          Nectali       lP  Morgan New
                       pm       NS                                   Martinez      Chase      York
                                Ecuador                              Hernandez

6       1,/1,4/201,5   12:01    Audiolec         91.,485,230.89      Regal         HSBC               Hong
                       am                                            Prosper                          Kong
                                                                     Trading
                                                                     Limited

7       1,/1,4/2015 11:51       Constrin         91.,375,240.23      Regal         HSBC               Hong
                       Pm       dec, S.A.                            Prosper                          Kong
                                                                     Trading
                                                                     Limited

8.      1,/1"4/201.5   7:06     Audiolec         g'1.,486,230.22     Jose          Wells Fargo        L.A.
                       pm                                            Mariano
                                                                     Castillo

9       1./1,6/2015 6:29        Cosmica          fil,056,780.56      Fratelli      Mashrebank         Dubai
                       Pm                                            Investment    PSC
                                                                     s Limited


10      1,/20,2015     6:56     Indisir          9298,223.15         No            HSBC               Hong
                       pm                                            Beneficiary                      Kong
                                                                     Identi{ied

1'1..   1,/20/2015     11.:46   Raslogec         fi95,73-1..18       IGM   Asia Hang Seng Hong
                       pm                                            Telecom    Bank      Kong

12.     1./21,/2015 7:56        Autoline         fi'J.,968,230.25    Jiushun       HSBC               Hong
                       pm                                            Group Co.                        Kong

                                TOTAL:           fi12,172,762.4'J.



         24.True and correct copies of the Unauthorized Transfers are attached                       as


               Exhibit "B" hereto.

         25.   A routine manual           andf   or   automated comparison         of   each   of   the

               Unauthorized Transfers to the normal activity                in the Correspondent


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           Account would have flagged each of them as unusual or unexpected,

           and thus indicative of fraud.

     26.   Indeed, some       or all of the Unauthorized           Transfers exhibited the

           following unusual or anomalous characteristics:

               a.   Unusual times of day for the SWIFTs (given that all were outside

                    normal operating hours of BDA's SWIFT);

              b.    Unusual amounts;

              c. Unusual beneficiaries      in unusual geographic locations (ten out of

                    the twelve transfers were to beneficiaries located in Hong Kong

                    and Dubai);

              d. Unusual frequency of transfer (twelve in nine days, with              the

                    second,   third and fourth transfers being to the same entity in

                    Hong Kong within the span of a mere two days for substantial

                    sums of money); and

              e.    The same beneficiary receiving funds from multiple originators

                    (e.g., Regal Prosper Trading Limited receiving funds from three

                    different customers of BDA).

     27.In sum, the Unauthorized Transfers were made in unusual times of the

           day, in unusual amounts, to unusual beneficiaries in unusual geographic

        locations (ten of twelve, including the first four), and            in an unusual
        frequencies. For example, three of the first four wires, in the amounts of

           g'1",424,638.06, g1,,236,578.45 and, fi663,2g7.3'J.,   were created outside the


                                               I
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           normal operating business hours of BDA and its SWIFT system, were in

           high amounts, sent to the same entity ("Regal Prosper Trading Limited")

           in an unusual geographic location (Hong Kong), within the span of only

           two days (January 12 and 13, 2015), from three different customers of

           BDA.

      28.In addition, although the twelfth Unauthorized Transfer                    for

           91,,968,230.25 was made after business     hours al7:56 pm on January 2L,

           2015, WFB processed the Unauthorized Transfer despite BDA's alerting

           \¡VFB   of the fraudulent nature of the transaction a mere three hours after

           the Unauthorized Transfer's SWIFT message was sent.

      29. Despite the numerous anomalies          in the Unauthorized Transfers, WFB

           inexplicably failed to block them andf or alert BDA of the suspicious

           activity.

     30.   Had WFB, at a minimum, notified BDA of the suspicious activity, the

           loss would have been avoided, inasmuch as BDA would have notified

           WFB in response that the suspicious activity was in fact fraudulent'

     3L. Indeed,       on January 21.,2015, after conducting a regular audit of the

           Correspondent Account, BDA discovered the Unauthorized Transfers.

           BDA discovered that for each Unauthorized Transfer, an unauthorized

           user remotely accessed BDA's computer system after hours, logged onto

           the SWIFT network purporting to be BDA, and redirected transactions to

           new beneficiaries with significant dollar amounts.


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       32. Upon discovery of the fraud, BDA promptly informed its correspondent

             banks, including WFB, that received unauthorized transfers about the

             fraudulent nature of the transactions and sought to have the transactions

             cancelled and its funds returned.

       33. On January 27,2015, Citibank refunded the sum           of US$1,845,286.86 to

             BDA as a result of the fraud alert issued by BDA as to an unauthorized

             transfer to its correspondent account maintained at Citibank for the same

             amount.

       34.   On February 18,2015, WFB made a partial refund of the Unauthorized

             Transfer   in the amount of   US$L,486,230,22     by refunding the sum of

             US$958,700.27   to BDA as a result of the fraud alert issued by      BDA.

             Inexplicably, \AIFB only made a partial refund despite the Unauthorized

             Transfer being traced to one of its customets.2

       35. By letter dated   April 7, 2015, BDA reiterated its demand to WFB for the

             immediate refund of the Unauthorized Transfers to BDA's

             Correspondent Account. A true and correct copy of the letter is attached

             hereto as Exhibit "C."

       36. BDA also initiated proceedings in Hong Kong against various recipients

             of the Unauthorized Transfers in an effort to recover funds from the



   2 Egregiously, instead of refunding all of the Unauthorized Transfers, as the law
   requires, WFB notified BDA on February 20,2015, that it had "ascertained that
   [the] reiationship with Banco del Austro ('BDA', 'you', and'your') no longer

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           Unauthorized Transfers. The claims afe       for unlawful receipt         and

           retention of funds, unjust enrichment and restitution, injunctive reliel

           and an accounting related to the Unauthorized Transfers.

     37. All conditions precedent to this action have occurred, been waived, or

           excused, or \MFB is estopped from asserting the existence of any or all

           such conditions by its own conduct.

                           AS AND FO R ,A FIRST CAUSE A CTIc)N
                            BREACH OF CONTRACTUAL DUTIES

     38. Plaintiff BDA incorporates by reference paragraphs 1 to 37 as        if fully   set


           forth herein.

     39.   Under the terms of the Agreement, in return for payment of

           correspondent banking fees, WFB agreed to verify the authenticity of

           SWIFT payment orders pursuant          to the SWIFT Authentication
           procedures in accordance with the SWIFT User Handbook, and to act, as

           to the payment orders, in    compliance   with all applicable laws        and

           general US commercial bank practices. Agreement    lT'1T   3.L and7.7.

     40. Pursuant to general banking practices, commercial banks          in the United

           States implement and follow "know your customer" and fraud detection

           policies and procedures designed to detect and deter suspicious activity

           in the accounts, and to report such    anomalies to, among others, its

           customers.



  meets [its] business profile requirements." As a result, WFB closed the


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     41..   Consistent      with industry practice, WFB trumpeted to BDA that it
            implemented and followed         its Global FCRM Program as a        fraud

            detection mechanism.

     42. According         to WFB's   assurances,   its Global FCRM Program's   Second

            Pillar contained internal controls divided in "preventive"             and

            "detective."

     43. Among the "detective" internal confrols, WFB boasted          to BDA that it

            included the ability to identify unusual activity in the account, apPly

            predictive analytics for customer-centric, cross-channel fraud detectiory

            screery block and reject suspicious transactions, and report these matters

            (along with other regulatory reporting requirements).

     44.WFB materially breached its contractual duties by failing to detect, block

            and report the Unauthorized Transfers.

     45. As a direct and proximate result of \AIFB's material breaches of contract,

            BDA has suffered damages.

                       AS AND FOR A SECOND CAUSE OF ACTION
                           BREACH OF STATUTORY DUTIES

     46. Plaintiff BDA incorporates by reference paragraphs L to 37 as      if fully   set

            forth herein.

     47.    Section 4-A-204(1)     of the Uniform      Commercial Code provides in

            pertinent part that:



  Correspondent Account.


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                  If a receiving bank accepts a payment order issued in
                  the name of its customer as sender which is... not
                  authorized and not effective as the order of the
                  customer under Section 4-A-202, ...the bank shall
                  refund any payment of the payment order received
                  from the customer to the extent the bank is not
                  entitled to enJorce payment and shall pay interest on
                  the refundable amount calculated from the date the
                  bank received payment to the date of the refund.

      48. BDA did not authorize the Unauthorized Transfers.

      49.BDAis not otherwise bound to the Unauthorized Transfers by the law of

            agency, as the Unauthorized Transfers were transmitted electronically

            via SWIFT.

      50.   Thus, the Unauthorized Transfers are not enforceable pursuant to

            Section 4-A-202(1) of the Uniform Commercial Code.

      51. The   Unauthorized Transfers are also not enforceable pursuant to Section

            4-A-202(2)   of the Uniform Commercial Code     because \AIFB failed to

            accept the Unauthorized Transfers in good faith and in compliance with

            the security procedure agreed-upon in the Agreement.

      52.   Under the terms of the Agreement, in return for payment of

            correspondent banking fees, WFB agreed to verify the authenticity of

            SWIFT payment orders pursuant         to the SWIFT Au.thentication
            procedures in accordancswith the SWIFT User Handbook'

     53. The Agreement further protected BDA against the risk of unauthorized

            payment orders by requiring that WFB act, as to the payment orders, in




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           compliance     with all applicable laws and general US commercial     bank

           practices. Agreement lTT 3.1 and7.7.

     54.   Thus, WFB not only had to comply with the SWIFT Authentication

           procedures, but also with all applicable laws and general US commercial

           bank practices, including any fraud detection policies and procedures

           adopted by it and represented to BDA.

     55. Pursuant    to general banking practices and in compliance with US law,

           commercial banks     in the United      States"implement and follow "know

           your customer" and fraud detection policies and procedures designed to

           detect and deter suspicious activity in the accounts, and to report such

           anomalies to, among others, its customers.

     56.   Consistent with industry practice and to comply with US laws,         \IVFB


           trumpeted to BDA that       it implemented and followed its Global   FCRM

           Program as a fraud detection mechanism.

     57. According        to WFB's   assurances,   its Global FCRM Program's    Second

           Pillar contained internal controls divided in "preventive"             and

           "detective."

     58.   Among the "detective" internal controls, \AIFB boasted to BDA that it

           included the ability to identify unusual activity in the account, apply

           predictive analytics for customer-centric, cross-channel fraud detection,




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            screen, block and reject suspicious transactions, and report these matters

            (along with other regulatory reporting requirements).3

      59. WFB     failed to detect, block and report the Unauthorized Transfers under

            its Global FCRM Program.

      60.In doing so, WFB failed to properly follow the security procedure, with

            the limitations in place designed to further protect BDA.

      61.In addition, WFB failed to accept the Unauthorized Transfers in good

            faith because it failed to observe reasonable commercial standards of fair

            dealing.

      62.SpecificaIly, WFB failed to comply with its own fraud detection policies

            and procedures, which    it trumpeted to BDA. It failed to detect,   block

            and report to BDA the Unauthorized Transfers, despite their various

            unusual or anomalous characteristics.

      63.   In view of the various anomalies and unusual activity related to the

            Unauthorized Transfers, WFB's failure to detect, block and report to

            BDA the Unauthorized Transfers demonstrates a lack of good faith.

      64. As a result, section 4-A-204(1) of the Uniform Commercial Code requires

            that WFB refund the Unauthorized Transfers (minus any            amounts

            already refunded), plus interest.



  3 Thus, WFB boasted that its Global FCRM Program was "customer-centric." ln
  effect, WFB represented that its Global FCRM Program was customized to meet
  the circumstances of the particular customer, including its size, type and
  frequency of payment orders (i.e., normal account activity).


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      65.   To date, WFB has failed to comply with section4-A-204(1) by refusing to

            refund the Unauthorized Transfers (minus the amount                  already

            refunded) to BDA.

      66. As a       direct and proximate result of WFB's breaches of its statutory duty,

            BDA has suffered damages.


                             AS AND FOR A THIRD CAUSE OF ACTION
                               BREACH OF CO     ON LAWDUTIES

      6T.Plaintiff BDA incorporates by reference ParagraPhs L to 10,1'4 to       1,8,   and

            2'1,   lo 37 as if fully set forth herein.

      68.   BDA was entitied to the protections afforded by law to customers of

            financial institutions.

      69.   Under the law, IMFB owed BDA a duty of care independent of the

            Agreement.

      70.   WFB had an independent duty of care             in providing   correspondent

            banking services         to BDA in a manneÍ consistent with       reasonable

            industry standards, including the implementation and proper execution

            of adequate "know your customer" and fraud detection policies               and

            procedures, as trumpeted by WFB.

      71.   Consistent       with   reasonable industry standards, WFB's   duty of      care

            required that it implement and follow "know your customer" and fraud

            detection policies and procedures designed to monitor for suspicious

            activity in the Correspondent Account, screen, block, and              reject



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           anomalous transactions in the Correspondent Account, and report those

           anomalous transactions in a timely manner to BDA.

     72.TJnder the circumstances, WFB violated its duty of care by negligently

           honoring the Unauthorized Transfers, and thereby negligentiy failing to

           properly monitor the Correspondent Account for suspicious activity,

           failing to screen, block and reject the Unauthorized Transfers, andf or

           Íailingto report the Unauthorized Transfers in a timely manner to BDA.

     73.Each Unauthorized Transfer should have triggered an alert at WFB

           pursuant to proper "know your customer" and fraud detection policies

           and procedures in place. \¡VFB should have recognized and blocked the

           Unauthorized Transfers as suspicious and anomalous, given the

           expected and actual activity in the Correspondent Account.

     74.This recognition should have then triggered a reporting process that

           would have notified BDA of the Unauthorized Transfers.

     75.   Such a simple reporting process would have revealed the scheme by

           outsiders and averted the losses resulting from the Unauthorized

           Transfers, as BDA would have verified that any of the transactions at

           issue was unauth orized.

     76.   As a direct and proximate result of WFB's negligence, BDA suffered

           damages.

  WHEREFORE,          the Plaintiff respectfully demands judgment against      the

  Defendant on the First, Second, and Third Causes of Action for compensatory


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  damages, plus costs, interest, and attorney's fees, together   with all other and

  further such relief that the Court may deem just and necessary.

  Dated: January 7,2016


                                              /s/
                                              Iohn G. Marfoe
                                          John G. Marfoe, Esq.
                                          WNF Law, P.L.
                                          Attorneys for Plaintiff
                                          1111 Brickell Ave., Suite 2200
                                          Miami, Florida 33131




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